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 5
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 9                        UNITED STATES DISTRICT COURT

10                       CENTRAL DISTRICT OF CALIFORNIA

11
12   RAUL URIARTE-LIMON,                         Case No.:
13
                 Plaintiff,                      COMPLAINT FOR:
14
       vs.                            DENIAL OF CIVIL RIGHTS AND
15                                    ACCESS TO PUBLIC FACILITIES
                                      TO PHYSICALLY DISABLED
16                                    PERSONS IN VIOLATION OF THE
     SEJONG CORPORATION, a California AMERICANS WITH DISABILITIES
17   corporation; and DOES 1-10,      ACT OF 1990, (42 U.S.C. §12101, et
                                      seq.) AND THE UNRUH CIVIL
18                                    RIGHTS ACT, (CALIFORNIA CIVIL
                  Defendants.         CODE §51, et seq.)
19
                                                 DEMAND FOR JURY TRIAL
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                                       COMPLAINT - 1
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 1          Plaintiff RAUL URIARTE-LIMON (hereinafter referred to as “Plaintiff”)
 2   complains of SEJONG CORPORATION, a California corporation; and DOES 1-
 3   10, (each, individually a “Defendant” and collectively “Defendants”) and alleges
 4   as follows:
 5                                      I.      PARTIES
 6         1.      Plaintiff RAUL URIARTE-LIMON is a California resident and a
 7   qualified physically disabled person. He cannot walk due to paraplegia and uses a
 8   wheelchair for mobility. Plaintiff prides himself on his independence and on
 9   empowering other disabled persons to be independent.
10         2.      Defendants SEJONG CORPORATION and DOES 1-10 are and were
11   the owners, operators, lessors and/or lessees of the subject business, property, and
12   facility at all times relevant in this Complaint.
13         3.      Plaintiff does not know the true names of Defendants, their business
14   capacities, their ownership connection to the property and business, or their
15   relative responsibilities in causing the access violations herein complained of, and
16   alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
17   informed and believes that each of the Defendants herein, including DOES 1
18   through 10, inclusive, is responsible in some capacity for the events herein alleged,
19   or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
20   amend when the true names, capacities, connections, and responsibilities of the
21   Defendants and Does 1 through 10, inclusive, are ascertained.
22         4.      Defendants own and owned the property located at 8939 Foothill
23   Blvd. #110, Rancho Cucamonga, CA and 8919 Foothill Blvd., Rancho
24   Cucamonga, CA (“Subject Property”) at all relevant times.
25         5.      Defendants operate and operated a liquor store doing business as Al's
26   Liquor and Deli (“liquor and deli store”), located at 8939 Foothill Blvd. #110,
27   Rancho Cucamonga, CA, at the Subject Property, at all relevant times.
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 1          6.     Defendants also operate and operated a convenience store doing
 2   business as Arco Gasoline (“convenience store”), located at 8919 Foothill Blvd.,
 3   Rancho Cucamonga, CA, at the Subject Property, at all relevant times.
 4          7.     Plaintiff alleges that the Defendants have been and are the owners,
 5   franchisees, lessees, general partners, limited partners, agents, trustees, employees,
 6   subsidiaries, partner companies and/or joint ventures of each of the other
 7   Defendants, and performed all acts and omissions stated herein within the course
 8   and scope of such relationships causing the damages complained of herein.
 9                           II.    JURISDICTION AND VENUE
10          8.     This Court has subject matter jurisdiction over this action pursuant to
11   28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
12   Disabilities Act of 1990, U.S.C. §12101, et seq.
13          9.     Pursuant to supplemental jurisdiction, an attendant and related cause
14   of action, arising out of the same nucleus of operative facts and arising out of the
15   same transactions, is also brought under California’s Unruh Civil Rights Act,
16   which expressly incorporates the Americans with Disabilities Act.
17          10.    Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
18   and is founded on the fact that the real property which is the subject of this action
19   is located in this district and that Plaintiff’s causes of action arose in this district.
20                                         III.   FACTS
21          11.    Plaintiff uses a wheelchair for mobility.
22          12.    Defendants’ businesses are open to the public, places of public
23   accommodation, and business establishments.
24          13.    Plaintiff went to the liquor and deli store on June 13, 2023 and
25   purchased one or more items. The receipt he received for his purchase is shown in
26   the photo below.
27   //
28   //

                                            COMPLAINT - 3
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16         14.    Unfortunately, during Plaintiff’s visit to the liquor and deli store,
17   Defendants did not offer persons with disabilities equivalent facilities, privileges,
18   advantages, and accommodations offered to other persons.
19         15.    Plaintiff encountered barriers that totally interfered with and denied
20   Plaintiff the ability to use and enjoy the goods, services, privileges, advantages,
21   and accommodations offered by Defendants at the Subject Property.
22         16.    These barriers violate one or more standards of the Americans with
23   Disabilities Act (“2010 ADA Standards”) and/or the California Building Codes
24   (“2022 CBC”).
25         17.    Parking for patrons visiting the Subject Property is among the
26   facilities, privileges advantages, and accommodations offered by Defendants.
27   //
28   //
                                          COMPLAINT - 4
          Case 5:23-cv-01223 Document 1 Filed 06/23/23 Page 5 of 18 Page ID #:5




 1         18.    When parking is provided, there must be at least one accessible
 2   parking space designated and marked for disabled persons. 2010 ADA Standards
 3   §502 et seq.; 2022 CBC 11B-502 et seq.
 4         19.    However, there is no accessible parking for disabled persons and/or
 5   the parking spaces designated for disabled persons do not comply with the
 6   applicable standards.
 7         20.    The paint used for the designated accessible parking space and
 8   adjacent access aisle was badly faded and cannot be clearly seen. There is no way
 9   to determine the actual dimensions of the space and whether the adjacent loading
10   and unloading access aisle is the correct width for an accessible space. The
11   International Access Symbol was so faded and worn it cannot be clearly seen.
12   ADA 2010 §§502.3.3, 502.6; 2022 CBC 11B-502.3.3, 11B 502.6; 11B-108.
13         21.    The parking space’s adjacent access aisle did not say “No Parking” or
14   the paint is so faded it cannot be read. ADA 2010 §502.3.3; 2022 CBC 11B-
15   502.3.3; 11B-108.
16         22.    There is no sign in a conspicuous place at the entrance to the facility,
17   or immediately adjacent to on-site accessible parking and visible from each
18   parking space, stating that vehicles parked in designated accessible spaces not
19   displaying a disabled placard or license plate will be towed. 2022 CBC 11B-502.8.
20         23.    A (partially redacted) photo taken on the day of Plaintiff’s visit which
21   shows one or more of these violations is below.
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                                         COMPLAINT - 5
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20         24.    Plaintiff personally encountered these barriers.
21         25.    These inaccessible conditions denied Plaintiff full and equal access
22   and caused him difficulty, humiliation, and frustration.
23         26.    The barriers existed during Plaintiff’s visit to the liquor and deli store
24   on June 13, 2023.
25         27.    Plaintiff went to the convenience store on June 15, 2023 and
26   purchased one or more items. The receipt he received for his purchase is shown in
27   the photo below.
28   //

                                          COMPLAINT - 6
         Case 5:23-cv-01223 Document 1 Filed 06/23/23 Page 7 of 18 Page ID #:7




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18         28.    Unfortunately, during Plaintiff’s visit to the convenience store,
19   Defendants did not offer persons with disabilities equivalent facilities, privileges,
20   advantages, and accommodations offered to other persons.
21         29.    Plaintiff encountered barriers that totally interfered with and denied
22   Plaintiff the ability to use and enjoy the goods, services, privileges, advantages,
23   and accommodations offered by Defendants at the Subject Property.
24         30.    These barriers violate one or more standards of the Americans with
25   Disabilities Act (“2010 ADA Standards”) and/or the California Building Codes
26   (“2022 CBC”).
27         31.    Parking for patrons visiting the Subject Property is among the
28   facilities, privileges advantages, and accommodations offered by Defendants.

                                          COMPLAINT - 7
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 1         32.    When parking is provided, there must be at least one accessible
 2   parking space designated and marked for disabled persons. 2010 ADA Standards
 3   §502 et seq.; 2022 CBC 11B-502 et seq.
 4         33.    However, there is no accessible parking for disabled persons and/or
 5   the parking spaces designated for disabled persons do not comply with the
 6   applicable standards.
 7         34.    The paint used for the designated accessible parking space and
 8   adjacent access aisle was badly faded and cannot be clearly seen. There is no way
 9   to determine the actual dimensions of the space and whether the adjacent loading
10   and unloading access aisle is the correct width for an accessible space. The
11   International Access Symbol was so faded and worn it cannot be clearly seen.
12   ADA 2010 §§502.3.3, 502.6; 2022 CBC 11B-502.3.3, 11B 502.6; 11B-108.
13         35.    The parking space’s adjacent access aisle did not say “No Parking” or
14   the paint is so faded it cannot be read. ADA 2010 §502.3.3; 2022 CBC 11B-
15   502.3.3; 11B-108.
16         36.    There is no sign in a conspicuous place at the entrance to the facility,
17   or immediately adjacent to on-site accessible parking and visible from each
18   parking space, stating that vehicles parked in designated accessible spaces not
19   displaying a disabled placard or license plate will be towed. 2022 CBC 11B-502.8.
20         37.    A (partially redacted) photo taken on the day of Plaintiff’s visit which
21   shows one or more of these violations is below.
22   //
23   //
24   //
25   //
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                                         COMPLAINT - 8
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20         38.    Plaintiff personally encountered these barriers.
21         39.    These inaccessible conditions denied Plaintiff full and equal access
22   and caused him difficulty, humiliation, and frustration.
23         40.    The barriers existed during Plaintiff’s visit to the convenience store on
24   June 15, 2023.
25         41.    Plaintiff alleges that Defendants knew that the architectural barriers
26   prevented equal access. Plaintiff further alleges that Defendants had actual or
27   constructive knowledge that the architectural barriers prevented equal access, and
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 1   that the noncompliance with the Americans with Disabilities Act and Title 24 of
 2   the California Building Code regarding accessible features was intentional.
 3             42.   Plaintiff intends to return to Defendants’ public accommodation
 4   facilities in the near future. Plaintiff is currently deterred from returning because of
 5   the knowledge of barriers to equal access that continue to exist at Defendants’
 6   facilities that relate to Plaintiff’s disabilities.
 7             43.   Defendants have failed to maintain in working and useable conditions
 8   those features necessary to provide ready access to persons with disabilities. 28
 9   C.F.R. §36.211(a).
10             44.   Defendants have the financial resources to remove these barriers
11   without much expense or difficulty in order to make their Property more accessible
12   to their mobility impaired customers. These barriers are readily achievable to
13   remove. The United States Department of Justice has identified that these types of
14   barriers are readily achievable to remove.
15             45.   To date, Defendants refuse to remove these barriers, in violation of
16   the law, willfully depriving disabled persons including Plaintiff of important civil
17   rights.
18             46.   On information and belief, the Plaintiff alleges that the Defendants’
19   failure to remove these barriers was intentional because the barriers are logical and
20   obvious. During all relevant times Defendants had authority, control and dominion
21   over these conditions and therefore the absence of accessible facilities was not a
22   mishap but rather an intentional act.
23             47.   The barriers to access are listed above without prejudice to Plaintiff
24   citing additional barriers to access by an amended complaint after inspection by
25   Plaintiff’s access consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir.
26   2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier
27   One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011). All of these barriers to
28   access render the premises inaccessible to physically disabled persons who are

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 1   mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter when
 2   he returns to the premises. All facilities must be brought into compliance with all
 3   applicable federal and state code requirements, according to proof.
 4                              FIRST CAUSE OF ACTION
 5                Violation of the Americans With Disabilities Act of 1990
 6                                (42 U.S.C. §12101, et seq.)
 7                                 (Against All Defendants)
 8         48.    Plaintiff alleges and incorporates by reference, as if fully set forth
 9   again herein, each and every allegation contained in all prior paragraphs of this
10   complaint.
11         49.    More than thirty years ago, the 101st United States Congress found
12   that although “physical or mental disabilities in no way diminish a person’s right to
13   fully participate in all aspects of society, yet many people with physical or mental
14   disabilities have been precluded from doing so because of discrimination…in such
15   critical areas as employment, housing, public accommodations, education,
16   transportation, communication, recreation, institutionalization, health services,
17   voting, and access to public services.” 42 U.S.C. §12101(a).
18         50.    In 1990 Congress also found that “the Nation’s proper goals regarding
19   individuals with disabilities are to assure equality of opportunity, full participation,
20   independent living, and economic self-sufficiency for such individuals,” but that
21   “the continuing existence of unfair and unnecessary discrimination and prejudice
22   denies people with disabilities the opportunity to compete on an equal basis and to
23   pursue those opportunities for which our free society is justifiably famous.” 42
24   U.S.C. §12101(a).
25         51.    In passing the Americans with Disabilities Act of 1990, which was
26   signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
27   “ADA”), Congress stated as its purpose:
28         “It is the purpose of this Act

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 1
           (1) to provide a clear and comprehensive national mandate for the
 2
           elimination of discrimination against individuals with disabilities;
 3
 4         (2) to provide clear, strong, consistent, enforceable standards
           addressing discrimination against individuals with disabilities;
 5
 6         (3) to ensure that the Federal Government plays a central role in
           enforcing the standards established in this Act on behalf of individuals
 7         with disabilities; and
 8
           (4) to invoke the sweep of congressional authority, including the power
 9         to enforce the fourteenth amendment and to regulate commerce, in
10         order to address the major areas of discrimination faced day to-day by
           people with disabilities.”
11
12   42 USC §12101(b).

13         52.    As part of the ADA, Congress passed “Title III – Public
14   Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
15   seq.). Title III of the ADA prohibits discrimination against any person “on the
16   basis of disability in the full and equal enjoyment of the goods, services, facilities,
17   privileges, advantages, or accommodations of any place of public accommodation
18   by any person who owns, leases (or leases to), or operates a place of public
19   accommodation.” 42 U.S.C. §12182(a).
20         53.    The specific prohibitions against discrimination include, inter alia, the
21   following:
22      • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
23        shall be discriminatory to afford an individual or class of individuals,
          on the basis of a disability or disabilities of such individual or class,
24        directly, or through contractual, licensing, or other arrangements, with
25        the opportunity to participate in or benefit from a good, service, facility,
          privilege, advantage, or accommodation that is not equal to that
26        afforded to other individuals.”
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                                          COMPLAINT - 12
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 1      • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
 2        modifications in policies, practices, or procedures when such
          modifications are necessary to afford such goods, services, facilities,
 3        privileges, advantages, or accommodations to individuals with
 4        disabilities...;”

 5      • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
 6        necessary to ensure that no individual with a disability is excluded,
          denied service, segregated, or otherwise treated differently than other
 7        individuals because of the absence of auxiliary aids and services...;”
 8
        • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
 9        barriers, and communication barriers that are structural in nature, in
10        existing facilities... where such removal is readily achievable;”
11
        • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
12        the removal of a barrier under clause (iv) is not readily achievable, a
          failure to make such goods, services, facilities, privileges, advantages,
13
          or accommodations available through alternative methods if such
14        methods are readily achievable.”
15
           54.    Plaintiff is a qualified individual with a disability as defined in the
16
     Rehabilitation Act and in the Americans with Disabilities Act of 1990.
17
           55.    The acts and omissions of Defendants set forth herein were in
18
     violation of Plaintiff’s rights under the ADA and the regulations promulgated
19
     thereunder, 28 C.F.R. Part 36 et seq.
20
           56.    The removal of each of the physical and policy barriers complained of
21
     by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
22
     achievable” under the standards of §12181 and §12182 of the ADA. Removal of
23
     each and every one of the architectural and/or policy barriers complained of herein
24
     was already required under California law. Further, on information and belief,
25
     alterations, structural repairs or additions since January 26, 1993, have also
26
     independently triggered requirements for removal of barriers to access for disabled
27
     persons per §12183 of the ADA. In the event that removal of any barrier is found
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 1   to be “not readily achievable,” Defendants still violated the ADA, per
 2   §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
 3   and accommodations through alternative methods that were “readily achievable.”
 4         57.    On information and belief, as of the date of Plaintiff’s encounter at the
 5   premises and as of the filing of this Complaint, Defendants’ actions, policies, and
 6   physical premises have denied and continue to deny full and equal access to
 7   Plaintiff and to other mobility disabled persons in other respects, which violate
 8   Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
 9   the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
10   enjoyment of the goods, services, facilities, privileges, advantages and
11   accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
12         58.    Defendants’ actions continue to deny Plaintiff’s rights to full and
13   equal access and discriminated and continue to discriminate against him on the
14   basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
15   enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
16   accommodations, in violation of the ADA, 42 U.S.C. §12182.
17         59.    Further, each and every violation of the Americans With Disabilities
18   Act of 1990 also constitutes a separate and distinct violation of California Civil
19   Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
20   damages and injunctive relief pursuant to California law, including but not limited
21   to Civil Code §54.3 and §55.
22                            SECOND CAUSE OF ACTION
23                         Violation of the Unruh Civil Rights Act
24                            (California Civil Code §51, et seq.)
25                                  (Against All Defendants)
26         60.    Plaintiff alleges and incorporates by reference, as if fully set forth
27   again herein, each and every allegation contained in all prior paragraphs of this
28   complaint.

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 1          61.    California Civil Code §51 provides that physically disabled persons
 2   are free and equal citizens of the state, regardless of their medical condition or
 3   disability:
 4          All persons within the jurisdiction of this state are free and equal, and
            no matter what their sex, race, color, religion, ancestry, national origin,
 5
            disability, or medical condition are entitled to full and equal
 6          accommodations, advantages, facilities, privileges, or services in all
            business establishments of every kind whatsoever.
 7
 8   California Civil Code §51(b) (emphasis added).
 9          62.    California Civil Code §51.5 also states, in part: “No business,
10   establishment of any kind whatsoever shall discriminate against…any person in
11   this state on account” of their disability.
12          63.    California Civil Code §51(f) specifically incorporates (by reference)
13   an individual’s rights under the ADA into the Unruh Act.
14          64.    California Civil Code §52 provides that the discrimination by
15   Defendants against Plaintiff on the basis of his disability constitutes a violation of
16   the general antidiscrimination provisions of §51 and §52.
17          65.    Each of Defendants’ discriminatory acts or omissions constitutes a
18   separate and distinct violation of California Civil Code §52, which provides that:
19          Whoever denies, aids or incites a denial, or makes any discrimination
20          or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
            every offense for the actual damages, and any amount that may be
21          determined by a jury, or a court sitting without a jury, up to a maximum
22          of three times the amount of actual damage but in no case less than four
            thousand dollars ($4,000), and any attorney’s fees that may be
23          determined by the court in addition thereto, suffered by any person
24          denied the rights provided in Section 51, 51.5, or 51.6.

25          66.    Any violation of the Americans with Disabilities Act of 1990
26   constitutes a violation of California Civil Code §51(f), thus independently
27   justifying an award of damages and injunctive relief pursuant to California law,
28   including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any

                                          COMPLAINT - 15
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 1   individual under the Americans with Disabilities Act of 1990 (Public Law 101-
 2   336) shall also constitute a violation of this section.”
 3         67.    The actions and omissions of Defendants as herein alleged constitute a
 4   denial of access to and use of the described public facilities by physically disabled
 5   persons within the meaning of California Civil Code §51 and §52.
 6         68.    As a proximate result of Defendants’ action and omissions,
 7   Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
 8   §52, and are responsible for statutory, compensatory and actual damages to
 9   Plaintiff, according to proof.
10                                    PRAYER FOR RELIEF
11          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
12   forth in this Complaint. Plaintiff has suffered and will continue to suffer
13   irreparable injury as a result of the unlawful acts, omissions, policies, and
14   practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
15   he requests. Plaintiff and Defendants have an actual controversy and opposing
16   legal positions as to Defendants’ violations of the laws of the United States and
17   the State of California.
18          The need for relief is critical because the civil rights at issue are paramount
19   under the laws of the United States of America and the State of California.
20          WHEREFORE, Plaintiff prays judgment against Defendants, and each of
21   them, as follows:
22                1.     Issue a preliminary and permanent injunction directing
23         Defendants as current owners, operators, lessors, and/or lessees of the
24         Subject Property and premises to modify the above described property,
25         premises, policies and related facilities to provide full and equal access
26         to all persons, including persons with physical disabilities; and issue a
27         preliminary and permanent injunction pursuant to ADA §12188(a) and
28         state law directing Defendants to provide facilities and services usable

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 1        by Plaintiff and similarly situated persons with disabilities, and which
 2        provide full and equal access, as required by law, and to maintain such
 3        accessible facilities once they are provided; to cease any discriminatory
 4        policies; and to train Defendants’ employees and agents how to
 5        recognize disabled persons and accommodate their rights and needs;
 6              2.     Retain jurisdiction over the Defendants until such time as
 7        the Court is satisfied that Defendants’ unlawful policies, practices, acts
 8        and omissions, and maintenance of physically inaccessible public
 9        facilities and policies as complained of herein no longer occur, and
10        cannot recur;
11              3.     Award to Plaintiff all appropriate damages, including but
12        not limited to actual and statutory damages according to proof;
13              4.     Award to Plaintiff all reasonable attorney fees, litigation
14        expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
15        California Civil Code §52; and
16              5.     Grant such other and further relief as this Court may deem
17        just and proper.
18
19   DATED: June 23, 2023                          VALENTI LAW APC
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21                                           By: /s/ Matt Valenti
22                                               Matt Valenti, Esq.
                                                 Attorney for Plaintiff
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                                        COMPLAINT - 17
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 1                                   JURY DEMAND
 2         Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3   jury is permitted.
 4
 5
 6   DATED: June 23, 2023                         VALENTI LAW APC
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 8                                           By: /s/ Matt Valenti
 9                                               Matt Valenti, Esq.
                                                 Attorney for Plaintiff
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